                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                EASTERN DIVISION

OSCAR FERNANDEZ INDIVIDUALLY AND AS
ADMINISTRATOR OF THE ESTATE OF ISIDRO
FERNANDEZ,

              PLAINTIFF,

    V.
                                                     Case No. 6:20-cv-02079-LRR-KEM
TYSON FOODS, INC., TYSON FRESH MEATS,
INC., JOHN H. TYSON, NOEL W. WHITE, DEAN
BANKS, STEPHEN R. STOUFFER, TOM
BROWER, TOM HART, CODY BRUSTKERN,
JOHN CASEY, AND BRET TAPKEN.

              DEFENDANTS.


                              FIRST AMENDED COMPLAINT


                                       INTRODUCTION
         1.   This case arises from Tyson Foods’ fraudulent misrepresentations, gross

negligence, and incorrigible, willful and wanton disregard for worker safety at its pork

processing facility in Waterloo, Iowa (the “Waterloo Facility”). Despite an uncontrolled Covid-

19 outbreak, Tyson required its employees to work long hours in cramped conditions. Moreover,

despite the danger of COVID-19, Tyson failed to provide appropriate personal protective

equipment and failed to implement sufficient social distancing or safety measures to protect

workers from the outbreak. As a result, Isidro Fernandez and more than 1,000 other Tyson

employees were infected with COVID-19 at the Waterloo Facility.

                                           PARTIES
         2.   Plaintiff Oscar Fernandez is the duly appointed Administrator of the Estate of his

deceased father, Isidro Fernandez.




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       3.      At all relevant times, Isidro Fernandez was a Tyson Foods employee working at

the Waterloo Facility. He died on April 26, 2020 from complications of COVID-19.

       4.      Plaintiff’s injuries arose out of and in the course of Isidro Fernandez’s

employment with Tyson Foods.

Defendant Tyson Foods
       5.      Defendant Tyson Foods, Inc. is the largest meat processor in the United States.

       6.      Tyson Foods, Inc. is a Delaware Corporation, with its principal place of business

in Springdale, Arkansas.

       7.      As a corporation, Tyson Foods, Inc. can act only through its agents, including its

employees, officers, and directors.

       8.      Tyson Foods, Inc. is vicariously liable for its agents’ acts and omissions within

the course and scope of their agency.

       9.      Defendant Tyson Fresh Meats, Inc. is a Delaware Corporation, with its principal

place of business in Springdale, Arkansas.

       10.     As a corporation, Tyson Fresh Meats can act only through its agents, including its

employees, officers, and directors.

       11.     Tyson Fresh Meats is vicariously liable for its agents’ acts and omissions within

the course and scope of their agency.

       12.     Tyson Fresh Meats is a wholly owned subsidiary of Tyson Foods, Inc.

(collectively “Tyson Foods” or “Tyson”).

Executive Defendants
       13.     Defendant John H. Tyson is the Chairman of Tyson Foods, Inc.

       14.     Defendant Noel W. White is the Chief Executive Officer of Tyson Foods, Inc.

       15.     Defendant Dean Banks is the President of Tyson Foods, Inc.



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           16.      Defendant Stephen R. Stouffer is the President of Tyson Fresh Meats, Inc.

           17.      Defendant Tom Brower is Senior Vice President of Health and Safety for Tyson

Foods, Inc.

           18.      Hereinafter John H. Tyson, Noel W. White, Dean Banks, Stephen R. Stouffer, and

Tom Brower, will be collectively referred to as the “Executive Defendants.”

Supervisory Defendants
           19.      Defendant Tom Hart is the plant manager of the Tyson Waterloo Facility. He is

required to be familiar with all aspects of the Waterloo Facility and to identify potential safety

hazards.

           20.      Defendant Bret Tapken is the Safety Lead of the Tyson Waterloo Facility. He is

required to be familiar with all aspects of the Waterloo Facility and to identify potential safety

hazards.

           21.      Defendants Cody Brustkern and John Casey hold upper-level management

positions at the Tyson Waterloo Facility.

           22.      Hereinafter Tom Hart, Bret Tapken, Cody Brustkern, and John Casey will be

collectively referred to as the “Supervisory Defendants.”

           23.      The Supervisory Defendants are required to be familiar with all aspects of the

Waterloo Facility and to identify potential safety hazards.

                                           JURISDICTION AND VENUE

           24.      The District Court for Black Hawk County, Iowa has jurisdiction over the

Defendants because the acts and omissions giving rise to the Plaintiff’s claims occurred in Black

Hawk County, Iowa.1



1
    Plaintiff filed this action in the District Court for Black Hawk County, Iowa and Defendants improperly removed


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       25.        Plaintiff certifies, pursuant to IA Code § 619.18, that this action meets applicable

jurisdictional requirements for amount in controversy.

       26.        Venue is proper under IA Code § 616.18 because Plaintiff sustained injuries and

damages in Black Hawk County.

                            FACTS COMMON TO ALL CAUSES OF ACTION
The Pandemic
       27.        COVID-19 is an infectious respiratory disease caused by a novel coronavirus

(hereinafter “COVID-19” or “the virus”).

       28.        COVID-19 is highly contagious.

       29.        COVID-19 can result in serious, long-term health complications and has resulted

in more than 123,000 reported deaths in the United States to date.

       30.        Among these serious health complications, COVID-19 can cause inflammation in

the lungs, clogging the air sacs in the lungs, limiting the body’s oxygen supply and blood clots,

organ failure, liver damage, intestinal damage, heart inflammation, neurological malfunction,

and acute kidney disease.

       31.        The virus primarily spreads from person to person through respiratory droplets

produced when an infected person coughs or sneezes.

       32.        Spread is more likely when people are in close contact with one another (i.e.,

within 6 feet).

       33.        The virus can be spread by people who are asymptomatic, pre-symptomatic, or

mildly symptomatic.

       34.        Distinctive factors that affect workers’ risk for exposure to COVID-19 in meat

processing facilities include distance between workers, duration of contact and type of contact

between workers.



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          35.   The best way to prevent infection and illness is to avoid being exposed to the

virus.

          36.   The first known COVID-19 outbreak occurred in Wuhan, Hubei province,

People’s Republic of China (“China”).

          37.   Tyson Foods has extensive operations and business interests in China, and one of

its subsidiaries operates a facility in Hubei province.

          38.   Tyson Foods has been focused on COVID-19 since January 2020 when it formed

a “company coronavirus task force.” Tyson formed this task force after observing the impact of

COVID-19 on its China operations.

          39.   In January, nearly all of Tyson’s operations in China were affected by the

COVID-19 outbreak. By February, Tyson halted operations at some facilities in China and

reduced operations at others.

          40.   On January 11, 2020, Chinese state media reported its first known death from

COVID-19; Japan, South Korea, and Thailand reported confirmed cases by January 20, 2020;

and the United States reported its first case on January 21, 2020.

          41.   On January 31, the United States Department of Health and Human Services

declared a national public health emergency.

          42.   On March 8, three COVID-19 cases were reported in Iowa.

          43.   On March 9, Iowa Governor Kim Reynolds issued a Proclamation of Disaster

Emergency in response to the COVID-19 outbreak.

          44.   On March 11, the World Health Organization declared the COVID-19 outbreak a

global pandemic.




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       45.     On March 13, President Donald Trump declared a National Emergency in

response to the COVID-19 outbreak.

       46.     On or about March 13, Tyson Foods suspended all U.S. commercial business

travel, forbid all non-essential visitors from entering Tyson offices and facilities, and mandated

that all non-critical employees at its U.S. corporate office locations work remotely.

       47.     On March 17, Governor Reynolds proclaimed a State of Public Health Disaster

Emergency for the State of Iowa.

       48.     On March 17, COVID-19 cases were confirmed in Black Hawk County.

       49.     On March 24, President Trump approved a major disaster declaration for the State

of Iowa in response to the COVID-19 outbreak.

COVID-19 Outbreak at the Waterloo Facility
       50.     The Waterloo Facility is Tyson’s largest pork plant in the United States. The

facility employs approximately 2,800 workers who process approximately 19,500 hogs per day.

       51.     By late-March, the Executive Defendants and Supervisory Defendants were aware

that COVID-19 was spreading through the Waterloo Facility.

       52.     Tyson Foods has been focused on COVID-19 since January when it formed a

“company coronavirus task force.” On information and belief, Tyson formed this task force after

observing the impact of COVID-19 on its China operations.

       53.     On information and belief, by late-March or early-April, Tyson Foods executives

and supervisors or managers at the Waterloo Facility were aware that COVID-19 was spreading

through the plant.

       54.     On April 3, 2020, the CDC recommended that all Americans wear face coverings

in public to prevent asymptomatic spread of COVID-19.




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       55.     Tyson Foods did not provide its workers at the Waterloo Facility with sufficient

face coverings, respirators, or other personal protective equipment.

       56.     Tyson Foods did not implement or enforce sufficient social distancing measures

at the Waterloo Facility.

       57.     The Executive Defendants and Supervisory Defendants had advance notice of the

danger COVID-19 posed to workers.

       58.     In March, COVID-19 outbreaks occurred at Tyson’s Columbus Junction plant and

Camilla plant (in Georgia). Four Tyson employees at the Camilla plant died from the virus and

two employees at the Columbus Junction facility died.

       59.     Waterloo employees were ordered to deliver parts to the Columbus Junction plant

during the Columbus Junction outbreak. These employees did not quarantine and were not

tested for COVID-19 when they returned to the Waterloo Facility.

       60.     On or about April 6, 2020, Tyson temporarily suspended operations at its

Columbus Junction plant after more than two dozen employees tested positive for COVID-19.

Consequently, a portion of the hogs that would have been processed at Columbus Junction were

redirected to the Waterloo Facility.

       61.     In March and April, Packers Sanitation Services Incorporated (PSSI) employees

moved back-and-forth between Columbus Junction and the Waterloo Facility. PSSI employees

arriving from Columbus Junction did not quarantine and were not tested for COVID-19 prior to

entering the Waterloo Facility.

       62.     By the time COVID-19 was detected at the Waterloo Facility, the Executive

Defendants were fully informed of prior and ongoing outbreaks at Tyson facilities in China,




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Columbus Junction, and Camilla.         At a minimum, the Supervisory Defendants were well

informed of the Columbus Junction outbreak.

       63.     On or about April 6, 2020, Tyson Foods installed temperature check stations to

scan persons entering the Waterloo Facility for fever. Tyson knew or should have known these

temperature checks did not function as designed and workers taking certain medications could

lower their temperatures prior to coming to work and pass through even if they were ill.

       64.     The Supervisory Defendants did not require truck drivers and subcontractors

(such as PSSI employees) to have their temperatures checked before entering the Facility.

       65.     In late-March or early-April, the Supervisory Defendants and most managers at

the Waterloo Facility started avoiding the plant floor because they were afraid of contracting the

virus. Consequently, as the virus spread through the plant, the Supervisory Defendants and other

managers increasingly delegated managerial authority and responsibilities to low-level

supervisors with no management training or experience.

       66.     In March and April the Supervisory Defendants cancelled regularly scheduled

safety meetings.

       67.     Even after learning of positive COVID-19 tests within the Waterloo Facility, the

Supervisory Defendants directed supervisors to deny knowledge of COVID-19 cases at the plant.

       68.     Consequently, in March and April supervisors—at the direction of the

Supervisory Defendants—falsely denied the existence of “confirmed cases” or “positive tests”

within the Waterloo Facility.

       69.     In April, the Supervisory Defendants falsely told workers they had a

responsibility to keep working in order to ensure Americans don’t go hungry.




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          70.   In April, the Supervisory Defendants falsely told workers that they would be

notified if they had been in close contact with a co-employee with a confirmed diagnosis of

COVID-19.On April 10, 2020, Black Hawk County Sherriff Tony Thompson and Black Hawk

County health officials visited the Waterloo Facility.

          71.   According to Sherriff Thompson, working conditions at the Waterloo Facility

“shook [him] to the core.” Workers were crowded elbow to elbow; most without face coverings.

          72.   Sheriff Thompson and other local officials lobbied Tyson to close the plant, but

the company refused.

          73.   Around this time, Defendant Tom Hart, the Plant Manager of the Waterloo

Facility, organized a cash buy-in, winner-take-all betting pool for supervisors and managers to

wager how many employees would test positive for COVID-19.

          74.   On the night of April 12, 2020, nearly two-dozen Tyson employees were admitted

to the emergency room at MercyOne Waterloo Medical Center.

          75.   On April 14, Black Hawk County officials asked Tyson to temporarily shut down

the Waterloo plant due to the outbreak of positive cases and the risks to Tyson employees and

the community. Again, the company refused. On April 16, 2020, Tyson company officials

publicly denied a COVID-19 outbreak at the Waterloo Facility.2

          76.   On or about April 17, 2020, twenty local elected officials sent a letter to Tyson

Foods imploring the company to take steps “to ensure the safety and well-being of Tyson’s

valuable employees and our community” and to “voluntarily cease operations on a temporary

basis at [the] Waterloo Facility so that appropriate cleaning and mitigation strategies can take

place.”
2
  See https://wcfcourier.com/business/local/tyson-workers-say-they-work-sick-clinic-seeing-
tons-of-covid-19/article_965e046b-f4e8-5c57-99dd-2b9938734909.html


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       77.     On or about April 19, Iowa state lawmakers filed an OSHA complaint against

Tyson Foods after Waterloo employees complained of unsafe working conditions amid the

coronavirus pandemic. The complaint alleged: at least one Tyson employee had informed

Waterloo health care providers that he or she had been transferred to the Waterloo Facility from

Tyson’s Columbus Junction plant, which had closed due to a COVID-19 outbreak; workers did

not have sufficient personal protective equipment; social distancing measures were not being

implemented or enforced on the plant floor or in employee locker rooms; nurses at the Waterloo

Facility lacked sufficient medical supplies and were unable to accurately conduct temperature

checks; and because of language barriers, non-English speaking employees mistakenly believed

they could return to work while sick.

       78.     Tyson transferred workers to the Waterloo Facility from its Columbus Junction

plant after it shut down due to a COVID-19 outbreak.

       79.     Tyson failed to test or adequately quarantine workers from the Columbus Junction

plant before allowing them to enter the Waterloo Facility.

       80.     The Supervisory Defendants permitted or encouraged sick and symptomatic

employees and asymptomatic employees known or suspected to have been exposed to COVID-

19 to continue working at the Waterloo Facility. At least one worker at the facility vomited on

the production line and management allowed him to continue working and return to work the

next day.

       81.     The Supervisory Defendants ordered sick employees who were tested at the

Waterloo Facility to return to work and continue working until they were notified that they had

tested positive for COVID-19.




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          82.   Defendant John Casey explicitly directed supervisors to ignore symptoms of

COVID-19. Mr. Casey told supervisors they had to show up to work, even if they were

exhibiting symptoms of COVID-19, and he directed supervisors to make their direct reports

come to work, even if those direct reports were showing symptoms of COVID-19.

          83.   On one occasion, Mr. Casey intercepted a sick supervisor en-route to get tested

and ordered the supervisor to get back to work, adding, “we all have symptoms—you have a job

to do.”

          84.   Tyson offered $500 “thank you bonuses” to employees who turned up for every

scheduled shift for three months. This policy further incentivized sick workers to continue

coming to work.

          85.   In March and April, supervisors and managers at the Waterloo Facility told

employees that their co-workers were sick with the flu (not COVID-19) and warned them not to

discuss COVID-19 at work.

          86.   The Supervisory Defendants regularly downplayed the dangers of COVID-19.

For instance, John Casey regularly referred to COVID-19 as the “glorified flu” and told workers

not to worry about it because “it’s not a big deal; everyone is going to get it.”

          87.   High-level Tyson executives began lobbying the White House for COVID-19

related liability protections as early as March and continued their lobbying efforts throughout

April. Tyson officials dined at the White House and participated in several calls with President

Trump and Vice President Pence during March and April.

          88.   Tyson executives lobbied, or directed others to lobby, members of the U.S. House

of Representatives or the U.S. Senate for COVID-19 related liability protections.




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        89.    Tyson executives lobbied, or directed others to lobby, Iowa Governor Reynolds

for COVID-19 related liability protections.

        90.    Tyson executives successfully lobbied, or directed others to lobby, Governor

Reynolds to issue an executive order stating that only the state government, not local

governments, had the authority to close businesses in northeast Iowa, including the Tyson

Waterloo facility.

        91.    On or about April 20, 2020, Governor Reynolds held a conference call with the

CEO of Tyson Foods, other high-ranking Tyson officials, and Tyson lobbyist Matt Eide. On

information and belief, Tyson officials downplayed the seriousness of the COVID-19 outbreak at

the Waterloo Facility and exaggerated the efficacy of safety measures implemented at the

facility.

        92.    According to Tyson Foods, the company began winding down operations at the

Waterloo Facility on April 20 because a lack of available healthy labor, but the plant did not shut

down until April 22, after the company had processed the remaining hog carcasses in its cooler.

        93.    On April 22, 2020, Tyson Foods announced plans to indefinitely suspended

operations at the Waterloo Facility.

        94.    On or about April 26, 2020, Tyson Foods placed a full-page advertisement in The

New York Times, Washington Post and Arkansas Democrat-Gazette entitled “A Delicate

Balance: Feeding the Nation and Keeping Our Employees Healthy,” which asserted that “the

food supply chain is breaking.” The advertisement, signed by Defendant John H. Tyson, warned

that “millions of pounds of meat will disappear from the [U.S.] supply chain” due to plant

closures and, “[a]s a result, there will be limited supply of our products available in grocery




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stores” until closed facilities reopen. The advertisement stressed that Tyson had a “responsibility

to feed our nation.”

        95.        On numerous occasions in April, Tyson executives (including Defendants John

H. Tyson, Noel W. White, Dean Banks, and Stephen R. Stouffer) and company spokespersons

(including Liz Croston and Gary Mickelson) publicly argued that it was necessary to continue

operating meat processing facilities during the pandemic (despite uncontrolled COVID-19

outbreaks at many of those facilities) in order to feed Americans.

        96.       Tyson exports to China increased by 600% in the first quarter of 2020. In fact,

Tyson exported 1,289 tons of pork to China in April 2020, its largest single month total in more

than three years.

        97.       On April 28, President Trump signed an executive order classifying meat

processing plants as essential infrastructure that must remain open. The stated purpose for the

order was to avoid risk to the nation’s food supply.

        98.       On May 1, 2020, the human resources director of the Tyson Waterloo Facility

told local officials that the plant was weeks away from reopening; however, the plant reopened

six days later.

        99.       The Black Hawk County Health Department has recorded more than 1,000

infections among Tyson employees—more than one third of the Tyson Waterloo workforce—

and at least 5 workers have died.

        100.      Dr. Nafissa Cisse Egbuonye, director of the Black Hawk County Health

Department, attributed 90% of the county’s COVID-19 cases to the Tyson Waterloo Facility.

        101.      A grossly disproportionate number of Tyson Waterloo workers have been infected

with COVID-19 compared to the general populations of Black Hawk County and Iowa.




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       102.   At the time of filing this lawsuit, more than 8,500 Tyson employees have

contracted COVID-19, more than double the number for any other company, and at least 20 have

died nationwide. A grossly disproportionate number of Tyson workers have been infected with

COVID-19 compared to the general population of the United States.

       103.   At all relevant times, the Supervisory Defendants and Executive Defendants

individually and collectively had responsibility for Ms. Buljic, Mr. Garcia and Mr. Ayala’s

safety and work conditions.

       104.   Plaintiff Oscar Fernandez, as Administrator of the Estate of Isadro Fernandez,

seeks recovery from Defendants for all damages cognizable under Iowa law including but not

limited to:

              a.     Isidro Fernandez’s pre-death physical and mental pain and suffering;

              b.     Isidro Fernandez’s pre-death loss of function of the mind and body;

              c.     Isidro Fernandez’s pre-death fright and emotional distress;

              d.     Isidro Fernandez’s pre-death medical expenses;

              e.     Pecuniary loss of accumulation to the Estate of Isidro Fernandez;

              f.     Interest on premature burial expenses; and

              g.     Past and future loss of the love, services, society, companionship, support,

                     affection, and consortium suffered by Celia Fernandez as a result of the

                     death of her husband.

              h.     Past and future loss of the love, services, society, companionship, support,

                     affection, and consortium suffered by Oscar Fernandez, Alejandro

                     Fernandez, Angelina Fernandez, Sergio Fernandez and Maria Fernande as

                     a result of the death of their father.




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                              FIRST CAUSE OF ACTION
                           CLAIMS AGAINST TYSON FOODS
      (FRAUDULENT MISREPRESENTATION, VICARIOUS LIABILITY AND PUNITIVE DAMAGES)
       105.   Plaintiff incorporates by reference all allegations contained in this Complaint.

       106.   In March and April of 2020, Defendant Tyson Foods, through the Supervisory

Defendants, made numerous false representations to Isidro Fernandez, and other workers at the

Waterloo Facility concerning: (1) the presence and spread of COVID-19 at the facility; (2) the

importance of protecting and keeping workers safe; (3) the efficacy of safety measures

implemented at the facility; and (4) the need to keep the facility open to avoid U.S. meat

shortages.

       107.   In March and April, Tyson Foods, through the Supervisory Defendants, falsely

represented to Mr. Fernandez and others workers at the Waterloo Facility that:

              a.      COVID-19 had not been detected at the facility;

              b.      COVID-19 was not spreading through the facility;

              c.      Worker absenteeism was unrelated to COVID-19;

              d.      Sick workers were not permitted to enter the facility;

              e.      Sick or symptomatic workers would be sent home immediately and would

                      not be permitted to return until cleared by health officials;

              f.      Workers would be notified if they had been in close contact with an

                      infected co-worker;

              g.      Tyson’s “top priority” is the health and safety of its “team members;”

              h.      Safety measures implemented at the facility would prevent or mitigate the

                      spread of COVID-19 and protect workers from infection;

              i.      The Waterloo Facility needed to stay open in order to avoid U.S. meat

                      shortages; and


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               j.        The Waterloo Facility was a safe work environment.

       108.    Tyson Foods knew these representations were false, and knew or should have

known that it was wrong to make such false representations.

       109.    These representations were material in that Mr. Fernandez would not have

continued coming to work had he been informed of the extent of the COVID-19 outbreak at the

Waterloo Facility.

       110.    Tyson intended by these false representations to deceive workers at the Waterloo

Facility, including Mr. Ferndandez, and to induce them to continue working despite the

uncontrolled COVID-19 outbreak at the plant and the health risks associated with working at the

Waterloo Facility.

       111.    Mr. Fernandez and others accepted and relied on Tyson’s representations as true,

and were justified in doing so.

       112.    Tyson Foods thereby induced Mr. Fernandez and others to continue working at

the Waterloo Facility.

       113.    Tyson’s false representations directly and proximately caused Plaintiff’s injuries

and were a substantial factor in causing Plaintiff’s injuries.

       114.    Tyson Foods is vicariously liable for the culpable acts and omissions committed

by all of its agents acting within the course and scope of their agency, including but not limited

to the executives and supervisors named in this Complaint.

       115.    Tyson Foods’ acts and omissions were grossly negligent, reckless, intentional,

and constitute willful and wanton misconduct.

       116.    Tyson Foods’ fraudulent misrepresentations and prolonged refusal to temporarily

close down the Waterloo Facility despite knowing that many workers at the plant had tested




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positive for COVID-19 and despite knowing that COVID-19 was rapidly spreading through the

workforce at the Waterloo Facility are evidence of Tyson’s incorrigible, willful and wanton

disregard for workplace safety and culpable state of mind.

       117.    Tyson knowingly and intentionally prioritized profits over the health, safety and

well-being of its Waterloo employees.

       118.    Tyson’s lobbying efforts for liability protections while simultaneously failing to

sufficiently protect its workers from COVID-19 is further evidence of the company’s

incorrigible, willful and wanton disregard for workplace safety and culpable state of mind.

       119.    An award of punitive damages is necessary to punish Tyson Foods for its willful

and wanton disregard for workplace safety and to deter it and other similarly situated companies

from jeopardizing workers’ lives in the future.

                                  SECOND CAUSE OF ACTION
                             CLAIMS AGAINST TYSON EXECUTIVES
                          (GROSS NEGLIGENCE AND PUNITIVE DAMAGES)
       120.    Plaintiff incorporates by reference all allegations contained in this Complaint.

       121.    At all relevant times, Tyson Foods employed the Executive Defendants in

managerial capacities.

       122.    At all relevant times, the Executive Defendants were acting within the course and

scope of their employment.

       123.    The Executive Defendants had a duty to exercise reasonable care to prevent

injuries to employees such as Isidro Fernandez.

       124.    The Executive Defendants were regularly briefed on positive COVID-19 cases at

Tyson facilities, and they learned that the virus had been detected at the Waterloo Facility within

days of the first confirmed case.

       125.    The Executive Defendants breached their duty through acts and omissions


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including but not limited to:

               a.      Failing to develop or implement worksite assessments to identify COVID

                       -19 risks and prevention strategies at the Waterloo plant;

               b.      Failing to develop or implement testing and workplace contact tracing of

                       COVID-19 positive workers at the Waterloo plant;

               c.      Failing to develop and implement a comprehensive screening and

                       monitoring strategy aimed at preventing the introduction of COVID-19

                       into the worksite, including a program to effectively screen workers before

                       entry into the workplace; return to work criteria for workers infected with

                       or exposed to COVID-19; and criteria for exclusion of sick or

                       symptomatic workers;

               d.      Allowing or encouraging sick or symptomatic workers to enter or remain

                       in the workplace;

               e.      Failing to promptly isolate and send home sick or symptomatic workers;

               f.      Failing to configure communal work environments so that workers are

                       spaced at least six feet apart;

               g.      Failing to modify the alignment of workstations, including those along

                       processing lines, so that workers do not face one another;

               h.      Failing to install physical barriers, such as strip curtains, plexiglass or

                       similar materials, or other impermeable dividers or partitions, to separate

                       or shield workers from each other;

               i.      Failing to develop, implement or enforce appropriate cleaning, sanitation,

                       and disinfection practices to reduce exposure or shield workers from




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              COVID-19 at the Waterloo plant;

       j.     Failing to provide all employees with appropriate personal protective

              equipment, including face coverings or respirators;

       k.     Failing to require employees to wear face coverings;

       l.     Failing to provide sufficient hand washing or hand sanitizing stations

              throughout the Waterloo Facility;

       m.     Failing to slow production in order to operate with a reduced work force;

       n.     Failing to develop, implement or enforce engineering or administrative

              controls to promote social distancing;

       o.     Failing to modify, develop, implement, promote, and educate workers,

              including those with limited or non-existent English language abilities, on

              revised sick leave, attendance or incentive policies to ensure that sick or

              symptomatic workers stay home;

       p.     Failing to ensure that workers, including those with limited or non-existent

              English language abilities, were aware of and understood modified sick

              leave, attendance or incentive policies;

       q.     Failing to ensure adequate ventilation in work areas to help minimize

              workers’ potential exposures and failing to minimize air from fans

              blowing from one worker directly at another worker;

       r.     Failing to establish, implement, promote, and enforce a system for

              workers, including those with limited or non-existent English language

              abilities, to alert supervisors if they are experiencing signs or symptoms of

              COVID-19 or if they have had recent close contact with a suspected or




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              confirmed COVID-19 case;

       s.     Failing to inform workers, including those with limited or non-existent

              English language abilities, who have had close contact with a suspected or

              confirmed COVID-19 case;

       t.     Failing to educate and train workers and supervisors, including those with

              limited or non-existent English language abilities, about how they can

              reduce the spread of, and prevent exposure to COVID-19;

       u.     Failing to encourage or require workers, including those with limited or

              non-existent English language abilities, to stay home when sick;

       v.     Failing to inform or warn workers that persons suspected or known to

              have been exposed to COVID-19 at other Tyson plants, including the

              Columbus Junction Facility, were permitted to enter the Waterloo Facility

              without adequately quarantining or testing negative for COVID-19 prior to

              entry;

       w.     Operating the Waterloo Facility in a manner that resulted in more than

              1,000 infected employees and five deaths;

       x.     Making false and fraudulent misrepresentations on behalf of Tyson Foods

              as set forth in the First Cause of Action above;

       y.     Failing to provide and maintain a safe work environment free from

              recognized hazards that cause or are likely to cause serious physical harm

              or death;

       z.     Failing to take reasonable precautions to protect workers from foreseeable

              dangers;




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                 aa.     Failing to abide by State and Federal rules, regulations, and guidance;

                 bb.     Failing to abide by appropriate OSHA standards, directives, and guidance;

                         and

                 cc.     Failing to exercise reasonable care under all of the circumstances.

          126.   The Executive Defendants’ acts and omissions were grossly negligent, reckless,

intentional, and constituted willful and wanton disregard for the safety of workers.

          127.   The Executive Defendants engaged in gross negligence amounting to such lack of

care as to amount to wanton neglect for the safety of Tyson workers, including Plaintiff.

          128.   The Executive Defendants knew of the danger to be apprehended (i.e., an

uncontrolled COVID-19 outbreak at the Waterloo Facility probable to result in serious illness or

death).

          129.   The Executive Defendants were fully informed of prior COVID-19 outbreaks at

Tyson facilities in China, Columbus Junction and Camilla, and they knew that three employees

at the Camilla plant had died from COVID-19 during the first week of April.

          130.   The Executive Defendants authorized or directed the Columbus Junction plant to

temporarily close after learning that approximately two-dozen employees testified positive for

COVID-19. But they refused to slow or pause production at the Waterloo Facility even after

learning that many more employees had tested positive.

          131.   The Executive Defendants knew, from the moment they learned that COVID-19

had been detected at the Waterloo Facility, that failure to take prompt and appropriate action (see

¶ 125(a)-(cc)) would almost certainly lead to a COVID-19 outbreak at the Facility resulting in

injury or death.

          132.   The Executive Defendants determined that slowing or pausing production at the




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Waterloo Facility would cause the company to lose millions of dollars per day.

       133.    The Executive Defendants forbid Defendant Tom Heart from slowing or pausing

production at the Waterloo Facility and directed Mr. Heart to keep the Waterloo Facility running

at full production for as long as possible.

       134.    As the Waterloo outbreak progressed and worsened, the Executive Defendants

were regularly briefed on the horrific conditions within the plant.

       135.    The Executive Defendants knew or should have known that their conduct was

probable to cause injury to employees.

       136.    The Executive Defendants consciously failed to avoid the danger.              They

recognized the danger of a COVID-19 outbreak at the Facility and failed to take sufficient

precautions to avoid an outbreak.

       137.    The Executive Defendants’ acts and omissions directly and proximately caused

Plaintiff’s injuries and were a substantial factor in causing those injuries.

       138.    The Executive Defendants’ prolonged refusal to slow production or temporarily

close down the Waterloo Facility despite knowing that many workers at the plant had tested

positive for COVID-19 and despite knowledge that COVID-19 was rapidly spreading through

the workforce at the Waterloo Facility is evidence of their incorrigible, willful and wanton

disregard for workplace safety and culpable state of mind.

       139.    The Executive Defendants knowingly and intentionally prioritized company

profits over the health, safety and well-being of Tyson’s Waterloo employees.

       140.    The Executive Defendants’ lobbying efforts for liability protections while

simultaneously failing to sufficiently protect workers from COVID-19 is further evidence of

their incorrigible, willful and wanton disregard for workplace safety and culpable state of mind.




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       141.    An award of punitive damages is necessary to punish the Executive Defendants

for their willful and wanton disregard for workplace safety and to deter them and other similarly

situated executives and companies from jeopardizing workers’ lives in the future.

                              THIRD CAUSE OF ACTION
                      CLAIMS AGAINST SUPERVISORY DEFENDANTS
       (GROSS NEGLIGENCE, FRAUDULENT MISREPRESENTATION AND PUNITIVE DAMAGES)
       142.    Plaintiff incorporates by reference all allegations contained in this Complaint.

       143.    At all relevant times, Tyson Foods employed the Supervisory Defendants in

managerial capacities.

       144.    At all relevant times, the Supervisory Defendants were within the course and

scope of their employment.

       145.    The Supervisory Defendants had a duty to exercise reasonable care to prevent

injuries to employees such Plaintiff.

       146.    The Supervisory Defendants breached their duty through acts and omissions

including but not limited to:

               a.        Failing to develop or implement worksite assessments to identify COVID-

                         19 risks and prevention strategies at the Waterloo plant;

               b.        Failing to develop or implement testing and workplace contact tracing of

                         COVID-19 positive workers at the Waterloo plant;

               c.        Failing to develop and implement a comprehensive screening and

                         monitoring strategy aimed at preventing the introduction of COVID-19

                         into the worksite, including a program of screening workers before entry

                         into the workplace; return to work criteria for workers infected with or

                         exposed to COVID-19; and criteria for exclusion of sick or symptomatic

                         workers;


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       d.     Allowing or encouraging sick or symptomatic workers to enter or remain

              in the workplace;

       e.     Failing to promptly isolate and send home sick or symptomatic workers;

       f.     Failing to configure communal work environments so that workers are

              spaced at least six feet apart;

       g.     Failing to modify the alignment of workstations, including along

              processing lines, so that workers do not face one another;

       h.     Failing to install physical barriers, such as strip curtains, plexiglass or

              similar materials, or other impermeable dividers or partitions, to separate

              or shield workers from each other;

       i.     Failing to develop, implement or enforce appropriate cleaning, sanitation,

              and disinfection practices to reduce exposure or shield workers from

              COVID-19 at the Waterloo plant;

       j.     Failing to provide all employees with appropriate personal protective

              equipment, including face coverings or respirators;

       k.     Failing to require employees to wear face coverings;

       l.     Failing to provide sufficient hand washing or hand sanitizing stations

              throughout the Waterloo Facility;

       m.     Failing to slow production in order to operate with a reduced work force;

       n.     Failing to develop, implement or enforce engineering or administrative

              controls to promote social distancing;

       o.     Failing to modify, develop, implement, promote, and educate workers,

              including those with limited or non-existent English language abilities, on




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              revised sick leave or incentive policies to ensure that sick or symptomatic

              workers are not in the workplace;

       p.     Failing to ensure that workers, including those with limited or non-existent

              English language abilities, were aware of and understood modified sick

              leave or incentive policies;

       q.     Failing to ensure adequate ventilation in work areas to help minimize

              workers’ potential exposures and failing to minimize air from fans

              blowing from one worker directly at another worker;

       r.     Failing to establish, implement, promote, and enforce a system for

              workers, including those who with limited or non-existent English

              language abilities, to alert their supervisors if they are experiencing sings

              or symptoms of COVID-19 or if they have had recent close contact with a

              suspected or confirmed COVID-19 case;

       s.     Failing to inform workers, including those with limited or non-existent

              English language abilities, who have had close contact with a suspected or

              confirmed COVID-19 case;

       t.     Failing to educate and train workers and supervisors, including those with

              limited or non-existent English language abilities, about how they can

              reduce the spread of, and prevent exposure to COVID-19;

       u.     Failing to encourage or require workers, including those with limited or

              non-existent English language abilities, to stay home when sick;

       v.     Failing to inform or warn workers that persons suspected or known to

              have been exposed to COVID-19 at other Tyson plants, including the




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                        Columbus Junction Facility, were permitted to enter the Waterloo Facility

                        without adequately quarantining or testing negative for COVID-19 prior to

                        entry;

                 w.     Operating the Waterloo Facility in a manner that resulted in more than

                        1,000 infected employees and five deaths;

                 x.     Making false and fraudulent misrepresentations on behalf of Tyson Foods

                        as set forth in the First Cause of Action above;

                 y.     Failing to provide and maintain a safe work environment free from

                        recognized hazards that are causing or are likely to cause serious physical

                        harm or death;

                 z.     Failing to take reasonable precautions to protect workers from foreseeable

                        dangers;

                 aa.    Failing to abide by State and Federal rules, regulations, and guidance;

                 bb.    Failing to abide by appropriate OSHA standards, directives, and guidance;

                        and

                 cc.    Failing to exercise reasonable care under all of the circumstances.

          147.   The Supervisory Defendants’ acts and omissions were grossly negligent, reckless,

intentional, and constituted willful and wanton disregard for the safety of workers.

          148.   The Supervisory Defendants engaged in gross negligence amounting to such lack

of care as to amount to wanton neglect for the safety of Tyson workers, including Mr. Fernandez.

          149.   The Supervisory Defendants knew of the danger to be apprehended (i.e., an

uncontrolled COVID-19 outbreak at the Waterloo Facility probable to result in serious illness or

death).




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       150.    The Supervisory Defendants knew or should have known that their conduct was

probable to cause employees to become infected with COVID-19.

       151.    The Supervisory Defendants consciously failed to avoid the danger. They

recognized the danger of a COVID-19 outbreak at the facility and failed to take sufficient

precautions to avoid an outbreak.

       152.    The Supervisory Defendants’ acts and omissions directly and proximately caused

Plaintiff’s injuries and were a substantial factor in causing those injuries.

       153.    The Supervisory Defendants made fraudulent misrepresentations to the Waterloo

workforce. They made false statements concerning the presence and spread of COVID-19 at the

Waterloo Facility, the importance of protecting and keeping employees safe, the breadth and

efficacy of safety measures implemented at the facility, and the importance of keeping the

facility open. The Supervisory Defendants knew these representations were false; they knew or

should have known it was wrong to make such false representations; and they intended to

deceive and induce Waterloo employees, including Isidro Fernandez, to continue working

despite the danger of COVID-19.

       154.    The Supervisory Defendants falsely represented to Mr. Fernandez and others

workers at the Waterloo Facility that:

               a.      COVID-19 had not been detected at the facility;

               b.      COVID-19 was not spreading through the facility;

               c.      Worker absenteeism was unrelated to COVID-19;

               d.      Sick workers were not permitted to enter the facility;

               e.      Workers from other Tyson plants that had shut down due to COVID-19

                       outbreaks were not permitted to enter the Waterloo facility;




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               f.      Sick or symptomatic workers would be sent home immediately and would

                       not be permitted to return until cleared by health officials;

               g.      Workers would be notified if they had been in close contact with an

                       infected co-worker;

               h.      Tyson’s “top priority” is the health and safety of its “team members;”

               i.      Safety measures implemented at the facility would prevent the spread of

                       COVID-19 and protect workers from infection;

               j.      The Waterloo Facility needed to stay open in order to avoid U.S. meat

                       shortages; and

               k.      The Waterloo Facility was a safe work environment.

       155.    The Supervisory Defendants knew these representations were false, and knew or

should have known that it was wrong to make such false representations.

       156.    These representations were material in that Mr. Fernandez would not have

continued coming to work had he been informed of the extent of the COVID-19 outbreak at the

Waterloo Facility.

       157.    The Supervisory Defendants intended by these false representations to deceive

workers at the Waterloo facility, including Mr. Fernandez, and to induce them to continue

working at the facility despite the uncontrolled COVID-19 outbreak at the plant and the health

risks associated with working at the Waterloo Facility.

       158.    Mr. Fernandez and others accepted and relied on the Supervisory Defendants’

representations as true, and were justified in doing so.

       159.    The Supervisory Defendants thereby induced Mr. Fernandez and others to

continue working at the Waterloo Facility.




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        160.    The Supervisory Defendants’ false representations directly and proximately

caused Plaintiff’s injuries and were a substantial factor in causing Plaintiff’s injuries.

        161.    The Supervisory Defendants’ fraudulent misrepresentations and prolonged refusal

to temporarily close down the Waterloo Facility despite knowing that many workers at the plant

had tested positive for COVID-19 and despite knowing that COVID-19 was rapidly spreading

through the Waterloo workforce are evidence of the Supervisory Defendants’ incorrigible,

willful and wanton disregard for workplace safety and culpable state of mind.

        162.    An award of punitive damages is necessary to punish the Supervisory Defendants

for their willful and wanton disregard for workplace safety and to deter them and other similarly

situated supervisors and companies from jeopardizing workers’ lives in the future.

                                        PRAYER FOR RELIEF
        Plaintiff respectfully request that the Court enter Judgment against Defendants for:

        I.      Economic damages in an amount consistent with the allegations in the Complaint

and the proof at trial;

        II.     Non-economic damages in an amount consistent with the allegations in this

Complaint and the proof at trial;

        III.    Punitive damages in an amount sufficient to punish the Defendants for their

egregious, life-threatening misconduct and to deter similar misconduct in the future; and

        IV.     Costs, interest and all other relief to which Plaintiff is entitled by law or equity.


        DATED this 11th day of November 2020.
                                                        /s/ Thomas P. Frerichs_____________
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                           DEMAND FOR JURY TRIAL
 Plaintiff respectfully requests a Jury of six.



 DATED this 11th day of November 2020.

                                                  /s/ Thomas P. Frerichs_____________
                                                  Thomas P. Frerichs (AT0002705)
                                                  Frerichs Law Office, P.C.




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